Case 6:21-cv-04191-RRS-CBW Document 77 Filed 05/31/22 Page 1 of 1 PageID #: 2458


                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA

   AIG SPECIALTY INSURANCE                       *   CIVIL ACTION NO. 21-cv-04191
   COMPANY (f/k/a CHARTIS                        *
   SPECIALTY INSURANCE                           *
   COMPANY)                                      *   JUDGE ROBERT R. SUMMERHAYS
    Plaintiff                                    *
                                                 *   MAGISTRATE CAROL B.
   VERSUS                                        *   WHITEHURST
                                                 *
   KNIGHT OIL TOOLS, INC. AND                    *
   RIPPY OIL COMPANY                             *
      Defendant                                  *
                                                 *
   RIPPY OIL COMPANY                             *
      Intervenor                                 *
                                                 *
  * * * * * * * * * * * * * * ** * * * * * * * * *

                                                ORDER

         CONSIDERING the Ex Parte Motion to Enroll Additional Counsel filed by Plaintiff, AIG

  Specialty Insurance Company;

         IT IS ORDERED that the Ex Parte Motion to Enroll Counsel is GRANTED, hereby

  adding Brandi N. Cormier (#39146) of the law firm of Gieger, Laborde & Laperouse, L.L.C. as

  additional counsel of record for AIG Specialty Insurance Company, in addition to Robert I. Siegel

  (#12063) and Alistair M. Ward (#24936) of the law firm Gieger, Laborde & Laperouse, LLC.

         Lafayette, Louisiana this 31st day of May, 2022.
